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 15
                      IN THE UNITED STATES DISTRICT COURT
 16                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
 17

 18
      PAUL SNITKO, JENNIFER                  Case No. 2:21-cv-04405-RGK-MAR
      SNITKO, JOSEPH RUIZ, TYLER
 19
      GOTHIER, JENI VERDON-
      PEARSONS, MICHAEL STORC,
 20
      and TRAVIS MAY,
                                               DECLARATION OF JENNIFER
 21
                           Plaintiffs,                SNITKO

 22
                 v.

 23
      UNITED STATES OF AMERICA,
      TRACY L. WILKISON, in her              Trial Date: August 23, 2022
 24
      official capacity as Acting United     Time: 9:00 A.M.
      States Attorney for the Central        Courtroom: 850
 25
      District of California, and KRISTI     Judge: Hon. R. Gary Klausner
      KOONS JOHNSON, in her official         Action Filed: May 27, 2021
 26
      capacity as an Assistant Director of
      the Federal Bureau of Investigation,
 27
                          Defendants.
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                              DECLARATION OF JENNIFER SNITKO
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  1         I, Jennifer Snitko, declare and state as follows:
  2         1.      I have knowledge of the facts set forth herein, and if called upon to
  3   testify as a witness thereto, I could and would competently do so under oath.
  4         2.      I am a citizen of the United States and a resident of Pacific Palisades,
  5   California.
  6         3.      I am a customer of U.S. Private Vaults, Inc. (“USPV”). When the
  7   government raided the U.S. Private Vaults facility, on March 22, 2021, my husband
  8   and I were holding our property in Box 7701 at the USPV facility in Beverly Hills.
  9         4.      As of March 22, 2021, my security deposit box at USPV contained my
 10   husband’s flight log book, copies of legal documents, my father-in-law’s antique
 11   Hamilton railroad watch, watches my father-in-law and my husband each received
 12   from their respective employers in recognition of their years of service, my
 13   husband’s college class ring, backups of our home PC hard drives, miscellaneous
 14   coins from my grandfather, and a few pieces of gold jewelry that I had received as
 15   gifts from my parents around the time I was in high school or college.
 16         5.      My husband and I also placed two external hard drives and two
 17   memory cards in the box. We place an extraordinarily high value on our privacy,
 18   and the digital archives placed in the box contained decades of private information.
 19         6.      We chose to keep our property at USPV because our bank had a
 20   waiting list for a safe deposit box, we live in a wildfire prone area that makes our
 21   documents (e.g., flight log) vulnerable, and we require a place to store our wedding
 22   bands when engaging in sports activities such as skiing and sailing.
 23         7.      We chose USPV after finding it to be a safe and secure place to store
 24   our property. We found the staff professional and courteous, and the facilities
 25   pristine. We also appreciated that USPV’s longer Saturday hours gave us more
 26   flexibility and convenience.
 27         8.      I learned of the government’s seizure of the USPV security deposit
 28   boxes from a story in the Los Angeles Times that my husband happened to read on
                                                 2
                                 DECLARATION OF JENNIFER SNITKO
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  1   or about April 8, 2021. A picture in the LA Times article dated April 2, 2021
  2   showed a sign on the window of USPV with a link to an FBI website that had a
  3   form for people to claim their property.
  4         9.     As per the instructions on the FBI’s posted notice, my husband and I
  5   submitted a claim on or about April 9, 2021 through the FBI’s website at
  6   https://forms.fbi.gov/u-s-private-vaults-claim-form.
  7         10.    After submitting a claim, I received an email from the FBI on April 14,
  8   2021 acknowledging the claim and stating that someone from the FBI would
  9   contact me within the next 30 to 60 days. On May 6, 2021, I received a voicemail
 10   from a special agent Blair F. requesting our box number. I spoke to Special Agent
 11   Blair F. on May 7, 2021 and gave her my name and box number, 7701. During that
 12   same call, I asked what the process would be for returning the contents of our
 13   security deposit box. Special Agent Blair F. responded that she did not know. She
 14   indicated that she was entering our information into a spreadsheet and said that
 15   someone from the FBI would be contacting us either by phone or email. I asked if
 16   there was any anticipated time frame, and Special Agent Blair F. indicated that
 17   currently there was none.
 18         11.    On May 27, 2021, my husband and I, along with other Plaintiffs, filed
 19   this class action lawsuit. At that point, it had been over two months since the FBI
 20   seized my property, and they had neither explained when they would return it or
 21   why they were continuing to hold it.
 22         12.    On May 27, the FBI called me within hours of us filing this action and
 23   offered to return the property it had seized from us.
 24         13.    My husband and I, along with our attorney, Robert Johnson, went to
 25   the FBI headquarters on June 10, 2021 to retrieve our property. We went in person
 26   to the Wilshire Federal Building, in Los Angeles, and we were escorted through a
 27   metal detector into an interview room.
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                                  DECLARATION OF JENNIFER SNITKO
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  1         14.    In the interview room, FBI agents produced the door to our safe
  2   deposit box, which had been removed from the nest of boxes at the hinges. We
  3   brought both keys to our safe deposit box with us to the meeting, as requested by
  4   the FBI, and the FBI agents had us test a key in the door to the box in order to
  5   verify that it was able to open the lock.
  6         15.     After we verified that we possessed the appropriate key, agents
  7   brought out our property in plastic bags labeled with the word “EVIDENCE” in
  8   large letters. A review of the property showed that FBI agents had opened
  9   envelopes that we had placed in our box and removed the documents inside for
 10   examination. This occurred even though we had placed a letter containing our
 11   contact information on top of the plastic interior sleeve within our safe deposit box
 12   so that it would have been immediately apparent to the FBI that the box’s contents
 13   contained our property.
 14         16.    My husband and I place an extraordinarily high value on our privacy,
 15   and the contents of our box contain a significant amount of personal information.
 16   While the contents of our box were not valuable in any material sense, they are
 17   valuable to us, and they provide a window on our lives. Knowing that the
 18   government has copies of this very personal information—and seems to want to
 19   retain that information forever—is emotionally distressing.
 20         17.    The entire process of obtaining the return of my property from the FBI
 21   was extremely disturbing to me. In particular, it was disturbing to see my personal
 22   property bagged as “evidence” and to see that my personal property had been
 23   subjected to examination by the FBI.
 24         18.    I understand that the FBI will indefinitely retain the records that it
 25   produced in connection with the search of my box, including photographs or videos
 26   showing the contents of the box. In addition, I understand that FBI agents will be
 27   able to access those documents and use them for investigative purposes. This is a
 28   significant invasion of my privacy. I worry both about the use that government
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  1   officials may make of this information and that the records could be lost,
  2   mishandled, or subject to a cyberbreach. These possibilities cause me severe
  3   distress.
  4          19.   I want to secure assurance that the government will destroy all
  5   physical and digital records that it acquired in searching my box-or else segregate
  6   those records, so that they can only be used to respond to claims for lost, stolen, or
  7   missing property and cannot be used for investigative purposes.
  8

  9          I declare under penalty of perjury under the laws of the United States that the
 1O   foregoing is true and correct.
 11          Executed this /G...ft day of July, 2022.
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                                 DECLARATION OF JENNIFER SNITKO
